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 Date:09/04/2020                       Judge: Hilton                                      Reporter: J. Egal
 Time: 9:00 am to 9:05 am


 UNITED STATES of AMERICA

                Vs.

 Peter Rafael Dzibinski Debbins           1:20-cr-00193
 Defendant’s Name                         Case Number

 David Benowitz                           James Trump/Thomas Traxler
 Counsel for Defendant                    Counsel for Government

Matter called for:
 ( ) Motions                    ( ) Setting Trial Date             ( ) Change of Plea Hrg.          ( ) Rule 35
 () Arraignment                ( ) Appeal from USMC               ( ) Sentencing                   ( ) Rule 20 & Plea
 ( ) Probation/Supervised Release Hrg.                             ( ) Pre-Indictment Plea          ( ) Other:

 Defendant appeared:              () in person                    ( ) failed to appear
                                  () with Counsel                 ( ) without counsel              ( ) through counsel

Filed in open court:
 ( ) Criminal Information    ( ) Plea Agreement      ( ) Statement of Facts     ( ) Waiver of Indictment      ( ) Discovery Order

Arraignment & Plea:
 () WFA ( ) FA          ( ) PG     () PNG Trial by Jury:        () Demanded      ( ) Waived

CIPA hearing scheduled for 10/22/2020 at 10:00 am

Case continued to 04/05/2021 at 10:00 am for: () Jury Trial          (   ) Bench Trial       ( ) Sentencing

 Bond Set at:                     ( ) Unsecured           (   ) Surety                        (   ) Personal Recognizance
 ( ) Release Order Entered        () Deft. Remanded      (   ) Deft. Released on Bond        (   ) Deft. Continued on Bond

 Defendant is: () In Custody      (   ) Summons Issued       (   ) On Bond     (   ) Warrant Issued     (    ) 1st appearance
